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WASHINGTON, DC 20002

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA, Case No.
Plaintiff, RULE 11 PLEA AGREEMENT

Vs.
LOREN KIM JACOBSON,

Defendant.

 

 

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I. GUILTY PLEA

A. Summary of Terms. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B),
the Defendant, the attorney for the Defendant, and the Government! agree that the Defendant will
plead guilty to Counts One and Two of the Information, which charge the Defendant with
willfully making a materially false statement to an officer of the United States Occupational
Safety and Health Administration in violation of Title 18, United States Code, Section 1001
(Count One) and welding on cargo tank skin without the requisite R Stamp, in violation of Title
49, United States Code, Section 5124(a), and Title 18, United States Code, Section 2 (Count
Two).

This plea is voluntary and did not result from force, threats, or promises, other than any
promise made in this Agreement. Upon acceptance of the Defendant’s guilty plea, and the
Defendant’s full compliance with the other terms of this Agreement, the Government agrees not
to initiate (i) any further criminal charges against the Defendant related to false statements arising
from the investigation in this case or (ii) any further criminal charges for violations of the
Hazardous Materials Transportation Act currently known to the Government, and, under Federal
Rules of Criminal Procedure 11(c)(1)(B), will recommend a sentence within the guidelines range
agreed upon in Paragraph V(B)(4), below.

B. Oath. The Defendant will be placed under oath at the plea hearing. The
Government may use any statement that the Defendant makes under oath against the Defendant in

a prosecution for perjury or false statement.

 

' The word “Government” in this Agreement refers to the United States Attorney for the
District of Idaho and the Acting Assistant Attorney General for the Environment and Natural
Resources Division of the United States Department of Justice.

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Cc. Waiver of Indictment. The Defendant hereby waives the right to prosecution by
indictment, pursuant to Federal Rule of Criminal Procedure 7(b), and agrees to plead guilty to the
Information as detailed herein.

Il. WAIVER OF CONSTITUTIONAL RIGHTS AT TRIAL

The Defendant waives the following rights by pleading guilty pursuant to this Agreement:
1) the right to plead not guilty to the offense charged against the Defendant and to persist in that
plea; 2) the right to a trial by jury, at which the Defendant would be presumed innocent and the
burden would be on the Government to prove the Defendant’s guilt beyond a reasonable doubt; 3)
the right to have the jury agree unanimously that the Defendant was guilty of the offense; 4) the
right, at trial, to confront and cross-examine adverse witnesses; 5) the right to present evidence
and to compel the attendance of witnesses; and 6) the right not to testify or present evidence
without having that held against the Defendant. If the Court accepts the Defendant's guilty plea,
there will be no trial.

Ill. NATURE OF THE CHARGES

A. Elements of the Crimes,

1. The elements of the false statement offense charged in Count One are as
follows:

a. The defendant made a false statement;

b. The false statement was made in a matter within the jurisdiction of
the executive branch of the United States Government;

C. The false statement was material; and
d. The defendant acted knowingly and willfully.

2. The elements of the Hazardous Materials Transportation Act offense

charged in Count Two are as follows:

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a. The defendant violated a regulation issued under Chapter 51 of
Title 49 (in this case, the R stamp regulation at 49 C.F.R.
§ 180.413(a)(1)); and

b. The defendant acted with one of the following mental states:

1) Willfully, meaning both with knowledge of the facts giving rise
to the violation, and with knowledge that the conduct was
unlawful; or

2) Recklessly, meaning with deliberate indifference or conscious
disregard to the consequences of his conduct.

B. Factual Basis. The Defendant admits the following facts are true:

Congress enacted the Occupational Safety and Health Act (“OSH Act”), 29 U.S.C. § 651
et seq., to ensure safe and healthful working conditions for the nation’s workforce and to preserve
human resources. The OSH Act is administered by the Occupational Safety and Health
Administration (“OSHA”). The OSH Act and its accompanying regulations impose workplace
safety requirements on employers (meaning those engaged in commerce who have employees),
including regulations relating to the repair of cargo tanks. For purposes of this case, a cargo tank
is a mobile cylindrical metal tank that is hauled by a truck, and used to transport gasoline or other
petroleum products. Pursuant to OSH Act regulations, employers must take steps to protect their
employees from the dangers of confined-space entry into cargo tanks, 29 C.F.R. § 1910.146, and
ensure that cargo tanks are thoroughly cleaned prior to welding on the tanks so that flammable
materials will not ignite and injure an employee. 29 C.F.R. § 1910.252(a)(3). OSHA Compliance
Safety and Health Officers (“CSHOs”) are tasked with conducting inspections and investigating
potential violations of the OSH Act and its safety standards. 29 C.F.R. § 1903.3(a), 1903.22(d).

Congress enacted the Hazardous Materials Transportation Act (“HMTA”), 49 U.S.C.

§ 501 et seq., to protect people and property from the dangers inherent in transporting hazardous

materials. The regulations promulgated under the HMTA explicitly define hazardous materials to

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include crude oil and other petroleum products. The HMTA and the regulations enacted
thereunder are administered and enforced by the U.S. Department of Transportation (““USDOT”).

USDOT regulations require every repair, modification, stretching, or rebarrelling of
certain cargo tanks, including MC 306 cargo tanks, to be made by a repair facility holding a valid
National Board Certificate of Authorization for use of the National Board “R” Stamp (“R
Stamp”), and to be made in accordance with the edition of the National Board Inspection Code in
effect at the time the work is performed. 49 C.F.R. § 180.413. The purpose of this requirement is
to ensure that those conducting such repairs have adequate training and expertise to do so safely.

KCCS, owned by Defendant and located in Pocatello, Idaho, is a company that repairs and
inspects tanker trailers. KCCS has not possessed an R stamp since 2004. Nonetheless, KCCS had
a regular practice of performing cargo tank repairs that required an R stamp. Often, in order to
avoid detection of the illegal welds, KCCS employees would patch cargo tanks from the inside.
Defendant did not use an OSH Act-compliant confined space entry permit program for these
entries into cargo tanks.

On or about August 11, 2018, at Defendant’s direction, a KCCS employee conducted one
such repair to an MC 306 cargo tank, referred to herein as tank 79A. Tank 7 9A had been used to
haul flammable petroleum. To hide work done without an R stamp, Defendant instructed his
employee to weld a patch onto the side of the tank skin from inside the tank. Defendant was .
aware that this repair required an R Stamp and a confined space entry permit, and that KCCS had
neither.

Three days later, on August 14, 2018, tank 79A returned to KCCS for additional repairs,
which the same KCCS employee conducted with Defendant’s knowledge and assistance. In the

course of those repairs, the KCCS employee’s welder flame pierced the skin of the tanker and

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ignited residual flammable material therein. Both Defendant and the KCCS employee were
severely burned in the resulting explosion.

After the explosion, an OSHA CSHO conducted an investigation into the circumstances
sutrounding the accident. As part of that investigation, the CSHO interviewed Defendant.
Defendant made a materially false statement to the CSHO during that interview, namely that the
aforementioned employee was merely an “observer,” not an employee, and that KCCS did not
have any employees, when in truth it did. This falsehood was material because OSHA
requirements only apply to “employers.” Defendant made this false statement both knowingly and
willfully, with the intent to evade legal repercussions and penalties for his violation of OSH Act
safety standards. |
IV. SENTENCING FACTORS

A. Penalties. The crimes of making a false statement, as charged in Count One, and

violating the HMTA, as charged in Count Two, are each punishable by:

1, a term of imprisonment of not more than 5 years;

2. a term of supervised release of not more than 3 years;

3, a term of probation of no less than 1 but no more than 5 years;
4, a maximum fine of $250,000 or twice the gross gain or loss; and
5. a special assessment of $100.

B. Supervised Release, The Court may impose a period of supervised release. No
Agreement exists as to its length.

The law permits the combined prison time and term of supervised release to exceed the
maximum term of incarceration for the crimes to which the Defendant is pleading guilty.

Violation of any condition of supervised release may result in further penalties and prosecution.

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C. Fines and Costs. The Court may impose a fine. The Court may also order the
Defendant to pay the costs of imprisonment, probation, and supervised release.
D. Special Assessment. The Defendant will pay the special assessment before
sentencing and will furnish a receipt at sentencing. Payment will be made to:
The United States District Court, Clerk’s Office
Federal Building and United States Courthouse
550 West Fort Street, Fourth Floor
Boise, Idaho 83724
E. Restitution. Defendant reserves the right to argue that restitution is not warranted
in this case. In addition to paying any forfeiture, fine, and costs imposed, Defendant also agrees to
pay any Court-ordered restitution pending the outcome of that challenge. Defendant agrees that all
monetary penalties imposed by the Court, including restitution, will be due immediately and can
immediately be enforced by the Government (whether through 18 U.S.C. § 3613 or otherwise).
Defendant is aware that voluntary payment of restitution prior to adjudication of guilt is a factor
the Court can consider in relation to acceptance of responsibility under the United States
Sentencing Guidelines (U.S.S.G.) § 3E1.1.
V. UNITED STATES SENTENCING GUIDELINES
A. Application of Sentencing Guidelines, The Court must consider the U.S.S.G. in
determining an appropriate sentence under 18 U.S.C. § 3553. Defendant agrees that the Court
may consider “relevant conduct” in determining a sentence pursuant to U.S.S.G. § 1B1.3.
The Court is not a party to this Agreement and the Agreement does not bind the Court’s
determination of the U.S.S.G. range. The Court will identify the factors that will determine the

sentencing range under the U.S.S.G. The Court has complete discretion to impose any lawful

sentence, including the maximum sentence possible.

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Recognizing that this Agreement does not bind the Court, the parties agree to the
recommendations and requests set forth below.
B. Sentencing Guidelines Recommendations and Requests.

1. Government’s Statements at Sentencing. The Government reserves the
right to allocute fully at sentencing regarding any sentencing recommendation. The Government
may rely on or submit any information, including relevant conduct, in support of its
recommendation regardless of whether the Agreement or the pre-sentence investigation report
contain this information. Any exception must be specified in this Agreement.

2. Acceptance of Responsibility. If the Defendant clearly accepts
responsibility for the offense, the Defendant will be entitled to a reduction of two levels in the
combined adjusted offense level, under U.S.S.G. § 3E1.1(a). The Government will move for an
additional one-level reduction in the combined offense level under § 3E1.1(b) if the following
conditions are met: (1) the Defendant qualifies for a decrease under § 3E1.1(a); (2) the offense is
level 16 or greater; and (3) the Defendant has timely notified authorities of the Defendant’s
intention to enter a plea of guilty, thereby permitting the Government to avoid preparing for trial
and permitting the Court to allocate its resources efficiently. If, before sentence is imposed, the
Defendant fails to meet U.S.S.G. § 3E1.1’s criteria, or acts in a manner inconsistent with
acceptance of responsibility, the Government will withdraw or decline to make the motion.

3, Downward Departure or Variance Request by Defendant. If the
Defendant wishes to seek a departure or variance, the Defendant must provide written notice to
the Government, along with the reasons and basis therefore, 21 days before the date set for

sentencing.

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4. Sentencing Recommendation by the Government. Provided that
Defendant pleads guilty and accepts responsibility as described herein, the Government agrees
that the following sentencing calculation under the U.S.S.G. applies:

a, The base offense level is 8, per U.S.S.G. § 2Q1.2;

b. A 2-level increase is appropriate, per U.S.S.G. § 2Q1.2(b)(7), for
violating 49 U.S.C. § 5124;

c. A 2-level increase is appropriate, per U.S.S.G. § 3CI.1, for
obstructive conduct; and

d. A 2-level decrease is appropriate, per U.S.S.G. § 3E1.1(a), for
acceptance of responsibility.

e. The total adjusted offense level is 10, criminal history category I,*
yielding an advisory guideline range of 6-12 months. The Government agrees to
recommend a sentence within this advisory guideline range. The Government
further agrees to recommend that the sentences for each count of conviction should

run concurrently.

VI. WAIVER OF RIGHT TO DIRECT APPEAL AND TO COLLATERAL ATTACK
UNDER 28 U.S.C. § 2255

A. Waiver. In exchange for this Agreement, and except as provided in subparagraph

 

B, the Defendant waives any right to appeal or collaterally attack the entry of plea, the conviction,
the entry of judgment, and the sentence, including forfeiture and restitution. This waiver includes
any challenge to the constitutionality of any statute of conviction including arguments that the

admitted conduct does not fall within any statute of conviction.

 

2 This is assumed based on both parties’ understanding of the Defendant’s criminal history; the final criminal
history category will be determined by the assigned probation officer.

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The Defendant acknowledges that this waiver will result in the dismissal of any direct
appeal or collateral attack the Defendant might file seeking to challenge the plea, conviction or
sentence in this case. Further, the filing of such an appeal or collateral attack will breach this
Agreement and allow the Government to withdraw from it, as well as to take other remedial
action.

If the Defendant believes the Government has not fulfilled its obligations under this
Agreement, the Defendant will object at the time of sentencing; further objections are waived.

B. Exceptions.

1. Direct Appeal: Notwithstanding subparagraph A, the Defendant may file
one direct appeal if one of the following unusual circumstances occurs:

a. the sentence imposed by the Court exceeds the statutory maximum;

b. the Court arrives at an advisory U.S.S.G. range by applying an
upward departure under Chapter 5K of the U.S.S.G.; or

c, the Court exercises its discretion under 18 U.S.C. § 3553(a) to
impose a sentence that exceeds the advisory U.S.S.G. range as
determined by the Court.

The Defendant understands that the above circumstances occur rarely and that in most
cases this Agreement completely forecloses appeals.

2. Motion Under 28 U.S.C. § 2255: Notwithstanding subparagraph A, the
Defendant may file an ineffective assistance of counsel claim in a 28 U.S.C. § 2255 motion.
VIL PROVIDING INFORMATION FOR THE PRESENTENCE REPORT
The Defendant agrees to provide financial information and any other information

requested by a representative of the United States probation office for use in preparing a pre-

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sentence investigation report, and agrees that the United States probation office may share all
financial information with the Government. Failure to execute releases or to provide information
for the pre-sentence investigation report violates this Agreement and relieves the Government of
its obligations from it. Such failure by the Defendant and response by the Government will not,
however, constitute grounds for withdrawing the plea of guilty unless the Government so
requests. Providing materially false information will subject the Defendant to additional penalties,
including an enhancement under U.S.S.G, § 3C1.1.
VII. DISCLOSING FINANCIAL INFORMATION

The Defendant agrees to disclose all the Defendant’s assets and sources of income to the
Government, including all assets over which the Defendant exercises or exercised direct or
indirect control, or in which the Defendant has had any financial interest. This includes all
community property. The Defendant also agrees to cooperate in obtaining any records relating to
ownership of assets when sought by the Government. The Defendant agrees truthfully to
complete a personal financial statement within 14 days from the date the Defendant signs this
Agreement or from the date the financial statement is provided to the Defendant or counsel,
whichever is later. The Defendant agrees to provide updates with any material changes in
circumstances, as described in 18 U.S.C. § 3664(k), within 7 days of the event giving rise to the
changed circumstances. The failure timely and accurately to complete, sign, and update the
financial statements may constitute failure to accept responsibility under U.S.S.G, § 3E1.1.

The Defendant authorizes the Government: (a) to obtain a credit report on the Defendant;
(b) to inspect and copy all financial documents and information held by the United States

probation office; and (c) to obtain all financial records related to the Defendant.

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Before sentencing, Defendant agrees not to dissipate any assets without the consent of
both the Governments financial litigation unit and asset forfeiture unit. If any assets are sold, any
sale proceeds will be deposited with the Clerk of Court and, upon sentencing, paid toward any
monetary penalties ordered in the judgment.

IX. NO RIGHT TO WITHDRAW PLEA

The Defendant understands that the Court may not follow the recommendations or
requests made by the parties at the time of sentencing. The Defendant cannot withdraw from this
Agreement or the guilty plea, regardless of the Court’s actions.

X. CONSEQUENCES OF VIOLATING AGREEMENT

A Government's Options, If the Defendant fails to keep any promise in this
Agreement or commits a new crime, the Government is relieved of any obligation: 1) to make a
sentencing recommendation consistent with the terms promised in this Agreement; and 2) not to
prosecute the Defendant on other charges, including charges not pursued due to this Agreement.
Such charges may be brought without prior notice. If the Government determines that a breach
warrants prosecution before sentencing, it may withdraw from this Agreement in its entirety. In
addition, if the Government determines after sentence is imposed that the Defendant’s breach of
the Agreement warrants further prosecution, the Government may choose between letting the
conviction under this Agreement stand or vacating such conviction so that charge may be re-
prosecuted.

The Government’s election to pursue any of the above options provides no basis for the
Defendant to withdraw the guilty plea made pursuant to this Agreement.

B. Defendant’s Waiver of Rights. If the Defendant fails to keep any promise made

in this Agreement, the Defendant gives up the right not to be placed twice in jeopardy for the

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offense to which the Defendant entered a plea of guilty or which were dismissed under this
Agreement. In addition, for any charge that is brought as a result of the Defendant’s failure to
keep this Agreement, the Defendant gives up: (1) any right under the Constitution and laws of the
United States to be charged or tried in a more speedy manner; and (2) the right to be charged
within the applicable statute of limitations period if the statute of limitations has expired.
XI. MISCELLANEOUS

A. No Other Terms. This Agreement is the complete understanding between the
parties, and no other promises have been made by the Government to the Defendant or to the
attorney for the Defendant. This Agreement does not prevent any government agency from
pursuing civil or administrative actions against the Defendant or any property. Unless an
exception to this paragraph is explicitly set forth elsewhere in this document, this Agreement does
not bind or obligate government entities other than those specified as the Government in this
Agreement (i.e., the United States Attorney’s Office for the District of Idaho and the
Environmental Crimes Section of the Department of J ustice), |

B. Plea Agreement Acceptance Deadline. This plea offer is explicitly conditioned
on the Defendant's notification of acceptance of this Agreement no later than May 12, 2021.
XII. UNITED STATES’ APPROVAL

We have reviewed this matter and the Agreement. This Agreement constitutes a formal
plea offer from the Government. Any oral discussions with the Defendant and defense counsel
about a plea do not constitute a plea offer. Any written offer or agreement made before this
Agreement is no longer a valid offer by the Government and is rescinded. We agree on behalf of
the United States that the terms and conditions set forth above are appropriate and are in the best

interests of justice.

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RAFAEL M. GONZALEZ, JR.
ACTING UNITED STATES ATTORNEY

By:
(Le | 3/3)

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JOSHUA D. HUR Date
Assistant United wis Attorney

JEAN E. WILLIAMS
ACTING ASSISTANT ATTORNEY GENERAL

 

 

By:
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CASSANDRA BARNUM Date
Trial Attorney

XIII. ACCEPTANCE BY DEFENDANT AND COUNSEL

I have carefully reviewed every part of this Agreement with my attorney. I understand the
Agreement and its effect upon my potential sentence. Furthermore, I have discussed all of my
rights with my attorney and J understand those rights. No other promises or inducements have
been made to me, directly or indirectly, by any agent of the Government, including any Assistant
United States Attorney, concerning the plea to be entered in this case. I understand that this
Agreement is a formal plea offer from the Government. Any oral discussions between the
Government and me or my counsel about a plea do not constitute a plea offer. Any written offer
or agreement made before this Agreement is no longer valid and is rescinded. In addition, no one

has threatened or coerced me to do, or to refrain from doing, anything in connection with this

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case, including entering a guilty plea. I am satisfied with my attorney’s advice and representation

in this case.

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LOREN KIM JACOB SON Date
Defendant

I have read this Agreement and have discussed the contents of the Agreement with my
client. This document accurately sets forth the entirety of the Agreement, I have conveyed all
written offers from the Government to the Defendant pursuant to Missouri v. Frye, 566 USS. 134,
145-47 (2012). I understand that this Agreement is a formal plea offer from the Government. Any
oral discussions between the Government and me or my client about a plea do not constitute a
plea offer. Any written offer or agreement made before this Agreement is no longer valid and is

rescinded. I concur in my client’s decision to plead guilty as set forth above.

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MATTHEW L. RINGHORN Date
Attorney “or the Defendant

  

 

 

 

 

 

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